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                      UNITED STATED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

                                      )
MEDICAL TRANSCRIPTION BILLING, CORP., )
                                      )
                   Plaintiff,         )
                                      )
                                      )
        vs.                           )                    Civil Action No.: 3:16-cv-08611
                                      )
                                      )
QHR Technologies, Inc.                )
                                      )
                   Defendant.         )
                                      )


PLEASE TAKE NOTE THAT, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and L R. Civ. P.

41.1(b), the above entitled, action, including all affirmative claims and counterclaims, having

been amicably adjusted by and between the parties, it is hereby stipulated and agreed that the

same be dismissed with prejudice without costs against either party.


Dated:

Respectfully Submitted,

                                                    MTBC, INC. (f/k/a MEDICAL
                                                    TRANSCRIPTION BILLING, CORP.)

                                                    By its attorney,

                                                    /s/James D. Donegan
                                                    James D. Donegan
                                                    Litigation Attorney o/b/o MTBC
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                                                 QHR Technologies Inc.

                                                 By its attorneys,


                                                 /s/ Andrew J Belli
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                                                 and

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                               CERTIFICATE OF SERVICE
I, James D. Donegan, hereby certifiy that the above-captioned document was filed on June xx,
2019, through the Court’s CM/CEF system and will be sent electronically to counsel for the
Defendant as indicated on the Court’s Notice of Electronic Filing.



                                                 /s/James D. Donegan
                                                 James D. Donegan




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